    Case 21-03000-sgj Doc 98 Filed 05/11/21                   Entered 05/11/21 18:50:51           Page 1 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )   Adv. Pro. No. 21-03000 (SGJ)
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                                )
HIGHLAND INCOME FUND, NEXPOINT                                          )
STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                  )
CAPITAL INC., AND CLO HOLDCO, LTD.,                                     )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On May 6, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as
Exhibit C and Exhibit D:



                                           (Continued on Next Page)




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03000-sgj Doc 98 Filed 05/11/21        Entered 05/11/21 18:50:51   Page 2 of 12




   •   Notice of Adjournment [Docket No. 97]


Dated: May 11, 2021
                                           /s/ Hannah Bussey
                                           Hannah Bussey
                                           KCC
                                           Meidinger Tower
                                           462 South 4th Street
                                           Louisville, KY 40202




                                           2
Case 21-03000-sgj Doc 98 Filed 05/11/21   Entered 05/11/21 18:50:51   Page 3 of 12



                              EXHIBIT A
           Case 21-03000-sgj Doc 98 Filed 05/11/21                                   Entered 05/11/21 18:50:51                        Page 4 of 12
                                                                              Exhibit A
                                                                        Core/2002 Service List
                                                                       Served via Electronic Mail



                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          ctimmons@abernathy-law.com;
Counsel for Collin County Tax                   Abernathy, Roeder, Boyd & Hullett,    Chad Timmons, Larry R. Boyd, Emily bankruptcy@abernathy-law.com;
Assessor/Collector                              P.C.                                  M. Hahn                             ehahn@abernathy-law.com
Counsel for NexBank                             Alston & Bird LLP                     Jared Slade                         jared.slade@alston.com
Counsel for NexBank                             Alston & Bird LLP                     Jonathan T. Edwards                 jonathan.edwards@alston.com
                                                                                      William P. Bowden, Esq., Michael D.
Counsel to Jefferies LLC                        Ashby & Geddes, P.A.                  DeBaecke, Esq.                      mdebaecke@ashbygeddes.com
Counsel for Scott Ellington, Thomas Surgent,
Frank Waterhouse, and Issac Leventon (the
“Senior Employees”) and CPCM, LLC               Baker & McKenzie LLP                  Debra A. Dandeneau                     debra.dandeneau@bakermckenzie.com
Counsel for Scott Ellington, Thomas Surgent,
Frank Waterhouse, and Issac Leventon (the
“Senior Employees”) and CPCM, LLC               Baker & McKenzie LLP                  Michelle Hartmann                      michelle.hartmann@bakermckenzie.com
Counsel for NWCC, LLC                           Barnes & Thornburg LLP                Thomas G. Haskins, Jr.                 thomas.haskins@btlaw.com
Counsel to Acis Capital Management GP LLC
and Acis Capital Management, L.P.                                                                                            mintz@blankrome.com;
(collectively, “Acis”)                          Blank Rome LLP                        John E. Lucian, Josef W. Mintz         jbibiloni@blankrome.com
                                                                                                                             michael.lynn@bondsellis.com;
                                                Bonds Ellis Eppich Schafer Jones      D. Michael Lynn, John Y. Bonds, III,   john@bondsellis.com;
Counsel to James Dondero                        LLP                                   Bryan C. Assink                        bryan.assink@bondsellis.com
                                                Buchalter, A Professional
Counsel to Oracle America, Inc.                 Corporation                           Shawn M. Christianson, Esq.            schristianson@buchalter.com
Counsel for UBS Securities LLC and UBS AG,                                            Martin A. Sosland and Candice M.       martin.sosland@butlersnow.com;
London Branch                              Butler Snow LLP                            Carson                                 candice.carson@butlersnow.com
                                                                                      Candace C. Carlyon, Esq., Tracy M.     ccarlyon@carlyoncica.com;
Counsel to Integrated Financial Associates Inc. Carlyon Cica Chtd.                    Osteen, Esq.                           tosteen@carlyoncica.com
Counsel to the Intertrust Entities and the CLO
Entities                                        Chipman, Brown, Cicero & Cole, LLP    Mark L. Desgrosseilliers               desgross@chipmanbrown.com
                                                Condon Tobin Sladek Thornton
Counsel to Siepe LLC                            PLLC                                  J. Seth Moore                          smoore@ctstlaw.com
Counsel to Patrick Daugherty (“Mr.
Daugherty”)                                     Cross & Simon LLC                     Michael L. Vild, Esquire               mvild@crosslaw.com
Counsel to Jefferies LLC                        Dentons US LLP                        Lauren Macksoud, Esq.                  lauren.macksoud@dentons.com
Counsel to Jefferies LLC                        Dentons US LLP                        Patrick C. Maxcy, Esq.                 patrick.maxcy@dentons.com
Counsel to Acis Capital Management, LP and
Acis Capital Management GP, LLC                                                                                              jprostok@forsheyprostok.com;
("Creditors") and Joshua N. Terry and Jennifer                                        Jeff P. Prostok, J. Robert Forshey,    bforshey@forsheyprostok.com;
G. Terry                                        Forshey & Prostok LLP                 Suzanne K. Rosen                       srosen@forsheyprostok.com
Secured Creditor                                Frontier State Bank                   Attn: Steve Elliot                     selliott@frontier-ok.com
Counsel to the Redeemer Committee of the
Highland Crusader Fund                          Frost Brown Todd LLC                  Mark A. Platt                          mplatt@fbtlaw.com
Counsel to Alvarez & Marsal CRF                                                       Marshall R. King, Esq., Michael A.     mking@gibsondunn.com;
Management LLC as Investment Manager of                                               Rosenthal, Esq. & Alan Moskowitz,      mrosenthal@gibsondunn.com;
the Highland Crusader Funds                     Gibson, Dunn & Crutcher LLP           Esq.                                   amoskowitz@gibsondunn.com
Counsel to Alvarez & Marsal CRF
Management LLC as Investment Manager of
the Highland Crusader Funds                     Gibson, Dunn & Crutcher LLP           Matthew G. Bouslog, Esq.              mbouslog@gibsondunn.com
                                                                                      Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
Counsel for the Debtor                          Hayward & Associates PLLC             Annable                               ZAnnable@HaywardFirm.com
                                                                                                                            ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment Trust and                                          Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
Get Good Trust                                  Heller, Draper & Horn, L.L.C.         Greta M. Brouphy                      gbrouphy@hellerdraper.com
Equity Holders                                  Hunter Mountain Investment Trust      c/o Rand Advisors LLC                 Jhonis@RandAdvisors.com
IRS                                             Internal Revenue Service              Attn Susanne Larson                   SBSE.Insolvency.Balt@irs.gov
IRS                                             Internal Revenue Service              Centralized Insolvency Operation      Mimi.M.Wong@irscounsel.treas.gov
Counsel to Crescent TC Investors, L.P.          Jackson Walker L.L.P.                 Michael S. Held                       mheld@jw.com
Secured Creditor                                Jefferies LLC                         Director of Compliance                cbianchi@jefferies.com
Secured Creditor                                Jefferies LLC                         Office of the General Counsel         cbianchi@jefferies.com
Counsel to the Redeemer Committee of the                                                                                    mhankin@jenner.com;
Highland Crusader Fund                          Jenner & Block LLP                    Marc B. Hankin, Richard Levin         rlevin@jenner.com
Counsel for CCS Medical, Inc.                   Jones Day                             Amanda Rush                           asrush@jonesday.com
Counsel to the Issuers (group of 25 separate                                                                                jbain@joneswalker.com;
Cayman issuers of loan)                         Jones Walker LLP                      Joseph E. Bain, Amy K. Anderson       aanderson@joneswalker.com
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                           K&L Gates LLP                         Artoush Varshosaz                      artoush.varshosaz@klgates.com
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                           K&L Gates LLP                         James A. Wright III                    james.wright@klgates.com




Highland Capital Management, L.P.
Case No. 19-34054                                                             Page 1 of 3
           Case 21-03000-sgj Doc 98 Filed 05/11/21                                     Entered 05/11/21 18:50:51                       Page 5 of 12
                                                                               Exhibit A
                                                                         Core/2002 Service List
                                                                        Served via Electronic Mail



                 Description                                CreditorName                      CreditorNoticeName                               Email
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
et al                                            K&L Gates LLP                         Stephen G. Topetzes                    stephen.topetzes@klgates.com
Counsel to CLO Holdco, Ltd.                      Kane Russell Coleman Logan PC         John J. Kane                           jkane@krcl.com
Counsel for Highland CLO Funding Ltd.            King & Spalding LLP                   Paul R. Bessette                       pbessette@kslaw.com
Counsel to BET Investments II, L.P.              Kurtzman Steady, LLC                  Jeffrey Kurtzman, Esq.                 Kurtzman@kurtzmansteady.com
Counsel to UBS Securities LLC and UBS AG                                                                                      Andrew.Clubok@lw.com;
London Branch (“UBS”)                            Latham & Watkins LLP                  Andrew Clubok, Sarah Tomkowiak         Sarah.Tomkowiak@lw.com
Counsel to UBS Securities LLC and UBS AG                                                                                      asif.attarwala@lw.com;
London Branch (“UBS”)                            Latham & Watkins LLP                  Asif Attarwala, Kathryn K. George      Kathryn.George@lw.com
Counsel to UBS Securities LLC and UBS AG                                                                                      jeff.bjork@lw.com;
London Branch (“UBS”)                            Latham & Watkins LLP                  Jeffrey E. Bjork, Kimberly A. Posin    kim.posin@lw.com
Counsel to UBS Securities LLC and UBS AG
London Branch (“UBS”)                            Latham & Watkins LLP                  Zachary F. Proulx                      Zachary.Proulx@lw.com
Counsel to Coleman County TAD, Kaufman
County, Upshur County, Fannin CAD, Tarrant
County, Grayson County, Allen ISD, Dallas        Linebarger Goggan Blair & Sampson
County, Irving ISD, and Rockwall CAD             LLP                               Elizabeth Weller, Laurie A. Spindler       dallas.bankruptcy@publicans.com
Counsel for Jack Yang and Brad Borud             Loewinsohn Flegle Deary Simon LLP Daniel P. Winikka                          danw@lfdslaw.com
Creditor                                         Lynn Pinker Cox & Hurst, L.L.P.   Michael K. Hurst, Esq.                     mhurst@lynnllp.com
Equity Holders                                   Mark K. Okada                                                                mokadadallas@gmail.com
Counsel to the Redeemer Committee of the                                                                                      rdehney@mnat.com;
Highland Crusader Fund                           Morris, Nichols, Arsht & Tunnell LLP Curtis S. Miller, Kevin M. Coen         cmiller@mnat.com
                                                                                      Joseph T. Moldovan, Esq. & Sally
Counsel to Meta-e Discovery, LLC                 Morrison Cohen LLP                   Siconolfi, Esq.                         bankruptcy@morrisoncohen.com
Bank                                             NexBank                              John Danilowicz                         john.holt@nexbankcapital.com
Counsel to California Public Employees’
Retirement System (“CalPERS”)                    Nixon Peabody LLP                     Louis J. Cisz, III, Esq.           lcisz@nixonpeabody.com
SEC Headquarters                                 Office of General Counsel             Securities & Exchange Commission   SECBankruptcy-OGC-ADO@SEC.GOV
US Trustee for Northern District of TX           Office of the United States Trustee   Lisa L. Lambert, Esq               lisa.l.lambert@usdoj.gov
                                                                                                                          jmorris@pszjlaw.com;
Counsel for the Debtor                           Pachulski Stang Ziehl & Jones LLP     John A. Morris and Gregory V. Demo gdemo@pszjlaw.com
                                                                                                                          rpachulski@pszjlaw.com;
                                                                                       Richard M. Pachulski, Jeffrey N.   jpomerantz@pszjlaw.com;
                                                                                       Pomerantz, Ira D. Kharasch, James ikharasch@pszjlaw.com;
Counsel for the Debtor                           Pachulski Stang Ziehl & Jones LLP     E. O’Neill                         joneill@pszjlaw.com
                                                                                                                          rpachulski@pszjlaw.com;
                                                                                       Richard M. Pachulski, Jeffrey N.   jpomerantz@pszjlaw.com;
                                                                                       Pomerantz, Ira D. Kharasch, James ikharasch@pszjlaw.com;
Counsel for the Debtor                           Pachulski Stang Ziehl & Jones LLP     E. O’Neill                         joneill@pszjlaw.com
Pension Benefit Guaranty Corporation             Pension Benefit Guaranty                                                 baird.michael@pbgc.gov;
(“PBGC”)                                         Corporation                           Michael I. Baird                   efile@pbgc.gov
Counsel to City of Garland, Garland ISD, Wylie   Perdue, Brandon, Fielder, Collins &
ISD                                              Mott, L.L.P.                          Linda D. Reece                         lreece@pbfcm.com
                                                                                       Jeremy W. Ryan, Esq., R. Stephen       jryan@potteranderson.com;
Delaware counsel to Alvarez & Marsal CRF                                               McNeill, Esq. & D. Ryan Slaugh,        rmcneill@potteranderson.com;
Management LLC                                   Potter Anderson & Corroon LLP         Esq.                                   rslaugh@potteranderson.com
Secured Creditor                                 Prime Brokerage Services              Jefferies LLC                          cbianchi@jefferies.com
Counsel to UBS Securities LLC and UBS AG                                               Michael J. Merchant, Sarah E.          merchant@rlf.com;
London Branch (“UBS”)                            Richards, Layton & Finger PA          Silveira                               silveira@rlf.com
Counsel to Hunter Mountain Trust                 Rochelle McCullough, LLP              E. P. Keiffer                          pkeiffer@romclaw.com
Counsel for Scott Ellington, Thomas Surgent,                                                                                  judith.ross@judithwross.com;
Frank Waterhouse, and Issac Leventon (the                                              Judith W. Ross, Frances A. Smith,      frances.smith@judithwross.com;
“Senior Employees”) and CPCM, LLC                Ross & Smith, PC                      Eric Soderlund                         eric.soderlund@judithwross.com
Counsel to the Intertrust Entities and the
Issuers (group of 25 separate Cayman issuers                                                                                  david.karp@srz.com;
of loan)                                         Schulte Roth & Zabel LLP              David J. Karp, James V. Williams III   jay.williams@srz.com
                                                                                                                              bankruptcynoticeschr@sec.gov;
SEC Regional Office                              Securities & Exchange Commission      Richard Best, Regional Director        nyrobankruptcy@sec.gov
SEC Regional Office                              Securities & Exchange Commission      Sharon Binger, Regional Director       philadelphia@sec.gov
                                                                                                                              mclemente@sidley.com;
Counsel to Official Committee of Unsecured                                             Matthew Clemente, Alyssa Russell,      alyssa.russell@sidley.com;
Creditors                                        Sidley Austin LLP                     Elliot A. Bromagen                     ebromagen@sidley.com
                                                                                                                              preid@sidley.com;
                                                                                       Penny P. Reid, Paige Holden            pmontgomery@sidley.com;
Counsel to Official Committee of Unsecured                                             Montgomery, Charles M. Person,         cpersons@sidley.com;
Creditors                                        Sidley Austin LLP                     Juliana Hoffman                        jhoffman@sidley.com
Counsel to Patrick Daugherty                     Spencer Fane LLP                      Jason P. Kathman                       jkathman@spencerfane.com
                                                                                       Division of Corporations - Franchise
DE Secretary of State                            State of Delaware                     Tax                                    dosdoc_bankruptcy@state.de.us




Highland Capital Management, L.P.
Case No. 19-34054                                                               Page 2 of 3
           Case 21-03000-sgj Doc 98 Filed 05/11/21                             Entered 05/11/21 18:50:51                      Page 6 of 12
                                                                        Exhibit A
                                                                  Core/2002 Service List
                                                                 Served via Electronic Mail



                Description                           CreditorName                     CreditorNoticeName                            Email
Counsel to the Hunter Mountain Trust
(“Hunter”)                                    Sullivan Hazeltine Allinson LLC  William A. Hazeltine, Esq.            whazeltine@sha-llc.com
Equity Holders                                The Dugaboy Investment Trust                                           gscott@myersbigel.com
                                              The Mark and Pamela Okada Family
Equity Holders                                Trust - Exempt Trust #1                                                mokadadallas@gmail.com
                                              The Mark and Pamela Okada Family
Equity Holders                                Trust - Exempt Trust #2                                                mokadadallas@gmail.com
Counsel to the United States Internal Revenue U.S. Department of Justice, Tax
Service                                       Division                         David G. Adams                        david.g.adams@usdoj.gov
United States Attorney General                United States Attorney General   U.S. Department of Justice            askdoj@usdoj.gov
Counsel to Acis Capital Management GP LLC                                                                            rpatel@winstead.com;
and Acis Capital Management, L.P.                                                                                    plamberson@winstead.com;
(collectively, “Acis”)                        Winstead PC                      Rakhee V. Patel, Phillip Lamberson    achiarello@winstead.com
Counsel for Jean Paul Sevilla and Hunter
Covitz (the “Employees”)                      Winston & Strawn LLP             Attn: David Neier                     dneier@winston.com
Counsel for Jean Paul Sevilla and Hunter
Covitz (the “Employees”)                      Winston & Strawn LLP             Attn: Katherine A. Preston            kpreston@winston.com
Counsel for Jean Paul Sevilla and Hunter                                       Attn: Thomas M. Melsheimer; Natalie   tmelsheimer@winston.com;
Covitz (the “Employees”)                      Winston & Strawn LLP             L. Arbaugh                            narbaugh@winston.com




Highland Capital Management, L.P.
Case No. 19-34054                                                       Page 3 of 3
Case 21-03000-sgj Doc 98 Filed 05/11/21   Entered 05/11/21 18:50:51   Page 7 of 12



                              EXHIBIT B
           Case 21-03000-sgj Doc 98 Filed 05/11/21                            Entered 05/11/21 18:50:51                  Page 8 of 12
                                                                       Exhibit B
                                                                 Adversary Service List
                                                                Served via Electronic Mail



                   Description                         CreditorName                   CreditorNoticeName                         Email
Financial Advisor to Official Committee of                                      Earnestiena Cheng, Daniel H      Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                            FTI Consulting                   O'Brien                          Daniel.H.O'Brien@fticonsulting.com
                                                                                Melissa S. Hayward, Zachery Z.   MHayward@HaywardFirm.com;
Counsel for the Debtor                         Hayward & Associates PLLC        Annable                          ZAnnable@HaywardFirm.com
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                    A. Lee Hogewood, III             Lee.hogewood@klgates.com
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                    Artoush Varshosaz                artoush.varshosaz@klgates.com
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                    James A. Wright III              james.wright@klgates.com
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                    Stephen G. Topetzes               stephen.topetzes@klgates.com
                                               Kane Russell Coleman Logan       Joseph M. Coleman, John J.        jcoleman@krcl.com;
Counsel for CLO Holdco, Ltd.                   PC                               Kane                              jkane@krcl.com
Counsel for UBS Securities LLC and UBS AG                                       Andrew Clubok, Sarah              andrew.clubok@lw.com;
London Branch                                  Latham & Watkins LLP             Tomkowiak                         sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and UBS AG                                                                         asif.attarwala@lw.com;
London Branch                                  Latham & Watkins LLP             Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
Counsel for UBS Securities LLC and UBS AG                                       Jeffrey E. Bjork, Kimberly A.     jeff.bjork@lw.com;
London Branch                                  Latham & Watkins LLP             Posin                             kim.posin@lw.com
Counsel for UBS Securities LLC and UBS AG                                                                         Zachary.Proulx@lw.com;
London Branch                                  Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine     Jamie.Wine@lw.com
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic                                      Davor Rukavina, Esq., Julian P.    drukavina@munsch.com;
Opportunities Fund and NexPoint Capital Inc.   Munsch Hardt Kopf & Harr, P.C. Vasek, Esq.                        jvasek@munsch.com
Counsel for CLO Holdco, Ltd.                   Myers Bigel P.A.               Grant Scott, Director              gscott@myersbigel.com
                                                                                                                 mclemente@sidley.com;
                                                                                Matthew Clemente, Alyssa         alyssa.russell@sidley.com;
Counsel for Official Committee of Unsecured                                     Russell, Elliot A. Bromagen,     ebromagen@sidley.com;
Creditors                                      Sidley Austin LLP                Dennis M. Twomey                 dtwomey@sidley.com
                                                                                                                 preid@sidley.com;
                                                                                Penny P. Reid, Paige Holden      pmontgomery@sidley.com;
Counsel for Official Committee of Unsecured                                     Montgomery, Juliana Hoffman,     jhoffman@sidley.com;
Creditors                                      Sidley Austin LLP                Chandler M. Rognes               crognes@sidley.com




Highland Capital Management, L.P.
Case No. 19-34054                                                      Page 1 of 1
Case 21-03000-sgj Doc 98 Filed 05/11/21   Entered 05/11/21 18:50:51   Page 9 of 12



                              EXHIBIT C
                                     Case 21-03000-sgj Doc 98 Filed 05/11/21                           Entered 05/11/21 18:50:51                   Page 10 of 12
                                                                                                Exhibit C
                                                                                         Core/2002 Service List
                                                                                        Served via First Class Mail



            Description                       CreditorName                CreditorNoticeName                   Address1                    Address2           Address3       City       State      Zip
                                                                                                      8080 North Central
 Bank                                BBVA                             Michael Doran                   Expressway                     Suite 1500                          Dallas         TX      75206
                                     Cole, Schotz, Meisel, Forman &                                   301 Commerce Street, Suite
 Creditor                            Leonard, P.A.                                                    1700                                                               Fort Worth     TX      76102
                                                                      Centralized Insolvency
 IRS                                 Internal Revenue Service         Operation                       PO Box 7346                                                        Philadelphia   PA      19101-7346
 Secured Creditor                    KeyBank National Association     as Administrative Agent         225 Franklin Street, 18th Floor                                    Boston         MA      02110
 Secured Creditor                    KeyBank National Association     as Agent                        127 Public Square                                                  Cleveland      OH      44114
 Texas Attorney General              Office of the Attorney General   Ken Paxton                      300 W. 15th Street                                                 Austin         TX      78701
 Attorney General of the United                                                                       Main Justice Building, Room     10th & Constitution
 States                              Office of the Attorney General                                   5111                            Avenue, N.W.                       Washington DC          20530
 US Attorneys Office for Northern    Office of the United States                                      1100 Commerce Street, 3rd
 District of TX                      Attorney                         Erin Nealy Cox, Esq             Floor                                                              Dallas         TX      75202
                                     State Comptroller of Public      Revenue Accounting Division-
 TX Comptroller of Public Accounts   Accounts                         Bankruptcy Section              PO Box 13258                                                       Austin         TX      78711
 Equity Holders                      Strand Advisors, Inc.                                            300 Crescent Court             Suite 700                           Dallas         TX      75201
 TX AG Office                        Texas Attorney Generals Office   Bankruptcy-Collections Division PO Box 12548                                                       Austin         TX      78711-2548
                                                                                                      1500 Pennsylvania Avenue,
 U.S. Department of the Treasury     US Department of the Treasury    Office of General Counsel       NW                                                                  Washington DC         20220
                                                                                                                                   Carvel State Office      820 N. French
 Delaware Division of Revenue        Zillah A. Frampton               Bankruptcy Administrator        Delaware Division of Revenue Building, 8th Floor      Street        Wilmington DE         19801




Highland Capital Management, L.P.
Case No. 19-34054                                                                                Page 1 of 1
Case 21-03000-sgj Doc 98 Filed 05/11/21   Entered 05/11/21 18:50:51   Page 11 of 12



                              EXHIBIT D
                               Case 21-03000-sgj Doc 98 Filed 05/11/21                   Entered 05/11/21 18:50:51                 Page 12 of 12
                                                                                 Exhibit D
                                                                           Adversary Service List
                                                                         Served via First Class Mail


              Description                   CreditorName             CreditorNoticeName                      Address1               Address2        City     State      Zip
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint                                                                  4350 Lassiter at North Hills
 Capital Inc.                         K&L Gates LLP               A. Lee Hogewood, III            Avenue Suite 300                              Raleigh      NC      27609
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint
 Capital Inc.                         K&L Gates LLP               Artoush Varshosaz               1717 Main Street, Suite 2800                  Dallas       TX      75201
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint
 Capital Inc.                         K&L Gates LLP               James A. Wright III             1 Lincoln Street                              Boston       MA      02110
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint
 Capital Inc.                         K&L Gates LLP               Stephen G. Topetzes             1601 K Street, NW                             Washington   DC      20006-1600
                                      Kane Russell Coleman        Joseph M. Coleman, John
 Counsel for CLO Holdco, Ltd.         Logan PC                    J. Kane                         901 Main Street, Suite 5200                   Dallas       TX      75242-1699
 Counsel for UBS Securities LLC and                               Andrew Clubok, Sarah            555 Eleventh Street, NW, Suite
 UBS AG London Branch                 Latham & Watkins LLP        Tomkowiak                       1000                                          Washington   DC      20004
 Counsel for UBS Securities LLC and                               Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
 UBS AG London Branch                 Latham & Watkins LLP        George                          Ste. 2800                                     Chicago      IL      60611
 Counsel for UBS Securities LLC and                               Jeffrey E. Bjork, Kimberly A.
 UBS AG London Branch                 Latham & Watkins LLP        Posin                           355 S. Grand Ave., Ste. 100                   Los Angeles CA       90071
 Counsel for UBS Securities LLC and                               Zachary F. Proulx, Jamie
 UBS AG London Branch                 Latham & Watkins LLP        Wine                            885 Third Ave.                                New York     NY      10022-4834
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,   Davor Rukavina, Esq.,                                            500 N. Akard
 Capital Inc.                         P.C.                        Julian P. Vasek, Esq.           3800 Ross Tower                  Street       Dallas       TX      75202
 Counsel for CLO Holdco, Ltd.         Myers Bigel P.A.            Grant Scott, Director           4140 Park Lake Ave, Ste 600                   Raleigh      NC      27612




Highland Capital Management, L.P.
Case No. 19-34054                                                                Page 1 of 1
